Ca§e 6:17-cv-06451-MAT-MWP Document162 Filed 04/39/19 Page 1 of 2

UNITED STATES DISTRIC'I‘ COURT
WESTERN DISTRICT OF NEWVYORK

 

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SKYLER LUSK, TIA COUNCIL, VIKTORIA
O’BRIEN,_ AND JUSTIN BYROAD, on behalf of
themselves and all other employees similarly sltuated,
Plainn_'l?."s',
_ ' 'ag”i”~'*t' ` _ - ` civ. No.; 17-cv~6451 (MAT)(MWP)

SERVE U BRANDS, INC., INSOMNIA COOKIES,
LLC, AND SETH BERKOWITZ, \ _ '

` Defendants.
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S'I'IPULATION AND ' _ ‘ _ ORDER OF I)I.SMISSAL
A__NMNMM

lt is hereby stipulated and agreed, by and between Plaintiffs Skyler Lusk, 'l`ia
Couneil, Viktoria O’Brien, and Justin Byroad, individually and on behalf cf others alleged te be
similarly situated, and the current cpt~in Pleintiffs in-this ease (collcctively “Plaintiffs"), and
Defendants Serve U Brands, Inc., Insomnia Cookies, LLC, and Seth Berkowitz (“Berkowitz”),

through their. undersigned attorneys, that all Causes of Action of Plaintitfs’ Amended Class and
Collective Action Ccmplaint (Dkt 59) are dismissed against Berkowitz in their entirety pursuent
to Fed. R. Civ. P. 41(a)(1)(A)(ii). Dismissal is without prejudice Any future amendment
regarding Berkowitz shall only be made by consent of the Parties or with leave of the Ccurt.

lt is further stipulated and 'weed that the caption in this matter is amended to

remove‘Berkowitz.

 

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By:

   
 

 

 

By:
THOMAS, ESQ. WILLIAMJ. ANTHONY, ESQ.
CI-IAEL .'f. LINGLE, ESQ. NOEL P. TRIPP, ESQ.

JESSICA L. LUKASIEWICZ,ESQ. DOUGL.AS J. KLEI'N, ESQ.

Dated: L‘[' " 35:" !C? Dated: L{/ lot f {q

so 0RDBRED onthis 59 day o£@¢,
2019

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